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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                    )
                                             )
                          Plaintiff,         )       CRIMINAL ACTION
                                             )
v.                                           )       No.   07-10221-MLB
                                             )
MICHAEL BIGLOW, et al.,                      )
                                             )
                          Defendants.        )
                                             )

                              MEMORANDUM AND ORDER
I.         Introduction
           This case comes before the court on numerous motions filed by
defendants.1 Four defendants have been charged in a Fifth Superceding
Indictment filed on September 14, 2011.                The indictment contains a
total of 35 counts and forfeiture allegations. The indictment alleges
a conspiracy to distribute cocaine which occurred from an unknown date
until September 27, 2007.          Defendants2 have also been charged with
using a telephone to distribute cocaine, distribution of cocaine and
other charges.        The motions are fully briefed and ripe for decision.
           A.   Motion to Exclude Guilty Pleas of Non-testifying Defendants
                (Docs. 794, 815)
           Reed and Biglow move to preclude the admission of non-testifying
co-defendants’ guilty pleas. The government responds that it does not
intend to introduce this evidence.           (Doc. 818).          In the event that a
co-defendant testifies who has entered a guilty plea, the government

       1
       Defendant Gregory Reynolds has not filed pretrial motions at
this time.
       2
       Throughout this order, the court may refer to defendants in
plural even though some matters may not concern all defendants.
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correctly responds that it will seek to introduce that plea if either
the defense makes the plea relevant or the defense opens the door to
an inquiry by the government.          If that occurs, the court will
appropriately instruct the jury.           Counsel may submit a proposed
instruction.
         B.   Motion to Exclude Bruton Evidence (Doc. 796)
         Reed moves to exclude evidence of statements made by non-
testifying co-defendants on the basis that it violates his Sixth
Amendment rights. The government asserts that the motion is premature
as defendant cannot identify which statements would infringe on his
rights.       The court agrees.   Defendants may raise this issue after
identifying the statements the government intends to introduce at
trial.
         C.   Motion to Bifurcate Forfeiture (Docs. 804, 806)
         Biglow and Reed move to bifurcate the trial into two phases, a
guilt phase and a forfeiture phase.        The government does not object.
The motions are granted.      (Docs. 804, 806).
         D.   Motion for Bill of Particulars (Doc. 807)
     Biglow argues that the indictment is not sufficient to put him
on notice of the nature and manner of the commission of the alleged
conspiracy.      Biglow seeks the identity of known but unidentified co-
conspirators, the location of the conspiracy, the manner in which it
was designed, the persons present when it was formed, the terms of the
agreement, the particulars and locations as to all meetings, and the
date when defendants joined such conspiracy.           (Doc. 807 at 1-2).
     “The purpose of a bill of particulars is to inform the defendant
of the charge against him with sufficient precision to allow him to

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prepare his defense . . . .”         United States v. Kunzman, 54 F.3d 1522,
1526 (10th Cir. 1995)(quoting United States v. Levine, 983 F.2d 165,
166-67 (10th Cir. 1992)).          “A bill of particulars, however, is not a
discovery   device    but   may     serve   to    amplif[y]       the   indictment     by
providing additional information.”            United States v. Dunn, 841 F.2d
1026, 1029 (10th Cir. 1988)(internal citations omitted).                        The Tenth
Circuit has held that an indictment is sufficient if it apprises
defendants of their crimes and defendants have been provided full
discovery. Kunzman, 54 F.3d at 1526. Biglow’s request must show that
the failure to provide the information would result in prejudicial
surprise.   United States v. Anderson, 31 F. Supp.2d 933, 938 (D. Kan.
1998)(citing United States v. Wright, 826 F.2d 938, 943 (10th Cir.
1987)).
       Biglow asserts that the allegations of multiple conspiracies in
the indictment coupled with the allegations of known but unindicted
co-conspirators causes duplicity concerns.                 Biglow contends that he
should be provided with the identity of unindicted co-conspirators.
The court agrees.      Anderson, 31 F. Supp.2d at 938 (“defendants are
entitled to know the identity of any unindicted coconspirators.”)
This   information,    if    not    disclosed,       may   subject      defendants     to
prejudicial surprise or double jeopardy problems. The government will
disclose the names by letter on or before December 9, 2011.
       The remaining information sought by Biglow, however, has not been
shown to be necessary for defendants to prepare for trial.                      Anderson,
31 F. Supp.2d at 938.       Moreover, and most importantly, Biglow has not
shown that he will be prejudiced without this information.                            The
government has provided defendants with extensive discovery, a fact

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that defendants have not contested.        Defendants are not entitled to
know the entirety of the government’s case, which is essentially what
Biglow is requesting.
     Biglow’s motion for a bill of particulars is granted in part and
denied in part.    (Doc. 807).
     E.    Motion to Compel (Doc. 808)
     Biglow moves for an order compelling the government to produce
all statements of co-defendants and co-conspirators that it intends
to introduce at trial.      The government contends that it has produced
all statements with the exception of one statement that may not have
been disclosed. The government has agreed to immediately provide that
statement. Therefore, Biglow’s motion is denied as moot. (Doc. 808).
     F.    Motion to Dismiss (Doc. 809)3
     Biglow moves to dismiss the charges against him with prejudice
on the basis that his Sixth Amendment right to a speedy trial has been
violated because this case was originally indicted four years ago and
has yet to go to trial.4     In reviewing the factors set forth in United
States v. Larson, 627 F.3d 1198, 1208 (10th Cir. 2010), a four year
delay is more than four times the average delay and therefore, the

     3
       A discussion of the history of events which occurred during the
years 2007, 2008 and 2009, can be found in this court’s memorandum and
order dated December 21, 2009. See Doc. 644. The second superceding
indictment against Biglow was dismissed in November 2009. Biglow was
not indicted again until September of this year.
     In addition, the government’s response to co-defendant James
Black’s motion to dismiss (Doc. 778) accurately summarizes the history
of this case.
     4
       A more detailed discussion of the factors and analysis
applicable to the Sixth Amendment can be found in this court’s
memorandum and order dated November 3, 2011.       (Doc. 800).    The
discussion in that order is equally applicable to Biglow. The court,
however, will discuss specific issues raised by Biglow in his motion.

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first factor weighs in favor of finding a violation of defendant’s
Sixth Amendment rights.       Id. at 1177.
     The   second   factor    requires      the    government   “to    provide   an
acceptable rationale for the delay.”              United States v. Seltzer, 595
F.3d 1170, 1177 (10th Cir. 2010).            Similar to Black, Biglow filed
several motions, including motions for continuances.              While it may be
that the delays during the periods of dismissal are the result of the
government’s actions, the court does not find that the government’s
actions were taken as deliberate attempts to delay the trial and
Biglow does not contend otherwise.                As to the first delay, the
government took an appeal after the court granted Biglow’s motion to
suppress and was ultimately successful.            Therefore, this delay should
not be weighed against the government.             As to the second long delay
of eighteen months, the government asserts that it was prepared to
file an indictment against defendant and other co-defendants shortly
after the second dismissal but did not do so after learning of an
illness in Biglow’s family.       That family member ultimately died this
past spring and the government filed the fifth superceding indictment
after a sufficient mourning period passed.              Biglow does not dispute
these contentions by the government.         Because both the government and
Biglow contributed to delay, the court finds that this second factor
does not weigh in favor of either party.
     The third factor, Biglow's assertion of his speedy trial right,
is given strong evidentiary weight.                Seltzer, 595 F.3d at 1179.
Biglow has not asserted his speedy trial rights until now. Thus, this
factor weighs heavily against Biglow as this motion is the first
instance in which defendant has asserted his right to a speedy trial.

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        In determining the fourth factor, whether the delay prejudiced
Biglow, the burden of proof is on defendant.              Seltzer, 595 F.3d at
1179; United States v. Toombs, 574 F.3d 1262, 1275 (10th Cir. 2009).
With regard to whether a defendant has made a particularized showing
of prejudice, the Tenth Circuit has identified three main interests:
“(i) the prevention of oppressive pretrial incarceration; (ii) the
minimization    of   anxiety   and   concern   of   the      accused;   and   (iii)
minimization of the possibility that the defense will be impaired.”
Seltzer, 595 F.3d at 1179; see also Toombs, 574 F.3d at 1275. The most
important interest is impairment of the defense.              Id. at 1179-80.
        As to the first factor, Biglow has never been incarcerated. With
respect to the second factor, Biglow asserts that he has suffered
anxiety concerns.     This argument would be more persuasive if Biglow
had sought his right to a speedy trial at some point earlier in time.
As to impairment of his defense, however, the most important interest,
Biglow has only suggested that it is impaired because witnesses will
not have a good memory of events that occurred in 2007.                 Biglow has
not identified witnesses who cannot recall certain events and how
those witnesses would have provided favorable and relevant evidence
if they were able to recall the events clearly.                 Biglow has only
established a “mere possibility” of prejudice which is insufficient
for establishing a Sixth Amendment violation.             Jackson, 390 F.3d at
1264.
        Even assuming the first two interests were to weigh in Biglow’s
favor, the prejudice factor would not weigh in Biglow’s favor because
he has not established that the delay prejudiced his defense.                  See
Toombs, 574 F.3d at 1276 (“Since the hindrance to the defense is the

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most    important    interest,        and    the    defense     was   not    significantly
hindered here, the prejudice factor does not weigh in favor of
Toombs.”)
        Although the delay was presumptively prejudicial, the second
factor does not weigh in Biglow’s favor, the third factor weighs
heavily against Biglow, and the fourth does not weigh in his favor.
In balancing the factors, the court finds that Biglow has not made out
a Sixth Amendment speedy trial violation. See, e.g., Toombs, 574 F.3d
at 1276.      Biglow’s motion is therefore denied.                   (Doc. 809).
        G.    Motion in Limine and Rule 404(b) Objections (Doc. 811)
        Biglow   moves     for   an    order       precluding    the       government   from
introducing evidence the government disclosed to counsel in a letter
dated September 28, 2009.             The government asserts that it does not
intend to introduce the evidence discussed in the letter unless the
defense      opens   the    door      to    the    introduction       of    the     evidence.
Therefore, the motion is denied, without prejudice, as moot at this
time.     (Doc. 811).
        H.    Motion to Sever (Doc. 813)
        Biglow moves to sever himself from his co-defendants.                       Multiple
defendants may be tried together “if they are alleged to have
participated in the same act or transaction, or in the same series of
acts or transactions, constituting an offense or offenses.” Fed. R.
Crim. P. 8(b). If, however, a joint trial “appears to prejudice a
defendant, . . . the court may order separate trials of counts [or]
sever the defendants' trials.” Fed. R. Crim. P. 14(a). Joint trials
of defendants who are charged together are preferred because “they
promote efficiency and serve the interests of justice by avoiding the

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scandal and inequity of inconsistent verdicts.”              United States v.
Hall, 473 F.3d 1295, 1301 (10th Cir. 2007) (quotation omitted).
Severance is discretionary and should be granted only when “there is
a serious risk that a joint trial would compromise a specific trial
right of one of the defendants, or prevent the jury from making a
reliable judgment about guilt or innocence.”          Id. at 1302 (quotation
omitted).
     The court agrees with the government’s response and adopts its
discussion.    Biglow has failed to establish how a joint trial would
result in “actual prejudice to his defense” as required to succeed on
a motion to sever.     United States v. Hutchinson, 573 F.3d 1011, 1025
(10th Cir. 2009).     Biglow’s concern of undue prejudice and confusion
of the issues because of other transactions and charges concerning co-
defendants will be alleviated by the court’s instructions which
require the jury to consider each defendant and count independently.
“[L]imiting instructions are ordinarily sufficient to cure potential
prejudice.”   Id.
     Biglow’s motion to sever is therefore denied.            (Doc. 813).
     I.     Motion to Exclude (Doc. 816)
     Biglow moves for an order excluding all evidence of his past
income, personal holdings and financial transactions during the guilt
phase of the trial.    The government requests that the court take this
matter under advisement until the evidence is presented at trial and,
presumably, outside the presence of the jury.           The court agrees.   If
Biglow proceeds to trial, he may make any objections to the admission
of the evidence outside of the presence of the jury.
     J.     Motions to Join

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      Defendants’ motions to join in their co-defendants’ filings are
granted.   (Docs. 782, 802, 812).
II.   Conclusion
      Defendants’ motion to     preclude the admission of non-testifying
co-defendants’ guilty pleas (Docs. 794, 815) is denied as moot.
Defendants’ motion to bifurcate is granted.                  (Docs. 804, 806).
Biglow’s motion for a bill of particulars is granted in part and
denied in part.    (Doc. 807).    Biglow’s motion to compel is denied as
moot.   (Doc. 808).       Biglow’s motion to dismiss on the basis of a
violation of his Sixth Amendment rights is denied.                   (Doc. 809).
Biglow’s motion in limine and motion to exclude are denied, without
prejudice, as moot at this time.       (Docs. 811, 816).        Biglow’s motion
to sever is denied. (Doc. 813). Defendants’ motions to join in their
co-defendants’ filings are granted.         (Docs. 782, 802, 812).


      IT IS SO ORDERED.
      Dated this    5th     day of December 2011, at Wichita, Kansas.


                                           s/ Monti Belot
                                           Monti L. Belot
                                           UNITED STATES DISTRICT JUDGE




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